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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 DATACLOUD TECHNOLOGIES, LLC,                           CIVIL ACTION NO. 6:21-cv-00662
     Plaintiff,

 v.                                                        JURY TRIAL DEMANDED

 CHARTER COMMUNICATIONS, INC.,
     Defendant.


                                  ORIGINAL COMPLAINT

       Plaintiff DataCloud Technologies, LLC (hereinafter, “Plaintiff” or “DataCloud”), by and

through its undersigned counsel, files this Original Complaint for Patent Infringement against

Defendant Charter Communications, Inc. (hereinafter, “Defendant” or “Charter”) as follows:

                                 NATURE OF THE ACTION

       1.       This is a patent infringement action to stop Defendant’s infringement of the

following United States Patents (collectively, the “Patents-in-Suit”), copies of which are attached

hereto as Exhibit A, Exhibit B, Exhibit C, Exhibit D, Exhibit E, Exhibit F, and Exhibit G,

respectively:

                 U.S. Patent No.                            Title
        A.          6,560,613    Disambiguating File Descriptors
        B.          6,651,063    Data Organization And Management System And Method
        C.          6,824,064    Concurrent Communication With Multiple Applications On A
                                 Smart Card
        D.          7,209,959    Apparatus, System, And Method For Communicating To A
                                 Network Through A Virtual Domain Providing Anonymity
                                 To A Client Communicating On The Network
        E.          8,370,457    Network Communication Through A Virtual Domain
        F.          8,607,139    System And Process For Managing Content Organized In A
                                 Tag-Delimited Template Using Metadata
        G.          8,762,498    Apparatus, System, And Method For Communicating To A
                                 Network Through A Virtual Domain

       2.       Plaintiff seeks monetary damages.
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                                               PARTIES

        3.       DataCloud is a limited liability company organized and existing under the laws of

the State of Georgia and maintains its principal place of business at 44 Milton Avenue, Suite 254,

Alpharetta, Georgia, 30009 (Fulton County).

        4.       Based upon public information, Charter is a corporation duly organized and

existing under the laws of the state of Delaware since at least July 9, 2003 and possibly as early as

September 20, 1988 or even May 4, 1970.

        5.       Based upon public information, Charter has its principal place of business located

at 400 Atlantic Street, Stamford, Connecticut, 06901 (Fairfield County).

        6.       Defendant may be served through its registered agent, Corporation Service

Company d/b/a CSC- Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620,

Austin Texas 78701.

                                   JURISDICTION AND VENUE

        7.       This action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et seq.,

including 35 U.S.C. §§ 271, 281, 283, 284, and 285. This Court has subject matter jurisdiction

over this case for patent infringement under 28 U.S.C. §§ 1331 and 1338(a).

        8.       The Court has personal jurisdiction over Charter because: Defendant has minimum

contacts within the State of Texas and in this District; Defendant has purposefully availed itself of

the privileges of conducting business in the State of Texas and in this District; Defendant has

sought protection and benefit from the laws of the State of Texas; Defendant has established offices

in the State of Texas and is registered to do business the State of Texas; Defendant regularly

conducts business within the State of Texas and within this District; and Plaintiff’s causes of action

arise directly from Defendant’s business contacts and other activities in the State of Texas and in




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this District.

         9.       More specifically, Charter directly and/or through its intermediaries, ships,

distributes, makes, uses, imports, offers for sale, sells, and/or advertises its products and services

in the United States, the State of Texas, and in this District.

         10.      Based upon public information, Charter solicits customers in the State of Texas and

in this District and has many paying customers who are residents of the State of Texas and this

District and who use its products in the State of Texas and in this District.

         11.      Charter has regular and established places of business throughout this District

where it operates, sells, services, develops, designs, and/or markets and has operated, sold,

serviced, developed, designed, and/or marketed during the relevant period of infringement, one or

more of its infringing products at several facilities in this District, including at its facilities located

at 215 Factory Dr., Waco, Texas 76710; 2720 West Loop 340, Waco, Texas 76711; 201 East

Central Texas Expressway, Suite 645, Harker Heights, Texas 76548; 3034 S. 31st St., Temple,

Texas 76502; 1325 George Dieter, Suites CE02 & CE03, El Paso, Texas 79936; 6510 North Mesa,

El Paso, Texas 79912; 7010 Airport Rd., El Paso, Texas 79906; 3151 SE Military Dr., Suite 101,

San Antonio, Texas 78223; 6301 NW Loop 410, San Antonio, Texas 78238; 11745 IH 10 West,

Suite 410, San Antonio, Texas 78230; 1109 E 5th Street, Block 3, Austin, TX 78702; 1000 East

41st Street, Suite 920, Austin, Texas 78751; 11920 Alterra Parkway, Suite 134, Austin, Texas

78758.

         12.      On information and belief, Charter also maintains regular and established places of

business in this District, including by maintaining and operating communications networks in this




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District, including on cellular towers and other installation sites owned or leased by Charter1 and

by maintaining or controlling a newsroom.2 Also, Charter is engaged in activities including:

transacting business in this district and purposefully directing its business activities, including the

installation, maintenance, and use of infringing products and other related technologies in this

District, and the sale or offer for sale of services and goods to this District to aid, abet, or contribute

to the infringement of third parties in this District.

           13.   Venue is proper in this district under 28 U.S.C. §§ 1391(b)-(d) and 1400(b) because

Charter has a number of regular and established places of business in Texas and this District, the

allegations of infringement involve actions within Texas and this District. Charter is also registered

to do business in the State of Texas, has offices in the State of Texas, has transacted business in

the Western District of Texas, and has committed acts of direct and indirect infringement in the

Western District of Texas.

                                 BACKGROUND INFORMATION

         14.     The Patents-in-Suit were duly and legally issued by the United States Patent and

Trademark Office (hereinafter, the “USPTO”) after full and fair examinations.

         15.     Plaintiff is the owner of the Patents-in-Suit, and possesses all right, title and interest

in the Patents-in-Suit including the right to enforce the Patents-in-Suit, the right to license the

Patents-in-Suit, and the right to sue Defendant for infringement and recover past damages.

         16.     Plaintiff has at all times complied with the marking provisions of 35 U.S.C. § 287


1
 Charter offers telecommunications services to “state and local government, public education, and
other public entities in Texas” through the Texas Department of Information Resources in Austin.
See e.g., https://dir.texas.gov/View-Search/Contracts-Detail.aspx?contractnumber=DIR-TEX-
AN-NG-CTSA-008. It also offers telecommunication services to customers in Waco, Texas. See
e.g., https://broadbandnow.com/Texas/Waco?zip=76710; https://broadbandnow.com/ Charter-
Communications.
2
    1708 Colorado St., Austin, TX 78701.

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with respect to the Patents-in-Suit.

        17.     Plaintiff does not sell, offer to sell, make, or use any products itself, so it does not

have any obligation to mark any of its own products under 35 U.S.C. § 287.

        18.     By letter dated November 4, 2020, DataCloud’s licensing agent sent Defendant

information in which it identified DataCloud’s patent portfolio, which included the Patents-in-

Suit. See Exhibit H (hereinafter, the “Licensing Letter”). By letter dated February 5, 2021,

DataCloud put Defendant on notice of its infringement of four of the Patents-in-Suit (the ‘063

Patent, the ‘064 Patent, the ‘959 Patent, and the ‘498 Patent. See Exhibit I (hereinafter, the “Notice

Letter”). By letter dated April 23, 2021, Defendant acknowledged receipt of the Notice Letter.

See Exhibit J (hereinafter, the “Response Letter”).

                         DEFENDANT’S PRODUCTS AND SERVICES

        19.     Based upon public information, Charter owns, operates, advertises, and/or controls

the websites www.charter.com and www.spectrum.com through which it advertises, sells, offers

to sell, provides and/or educates customers about its infringing products. See Exhibit K and

Exhibit L. Based upon public information, Charter also operates, advertises, and/or controls its

offices in Waco, Austin, El Paso, and San Antonio through which it advertises, sells, offers to sell,

provides and/or educates customers about its infringing products. See, supra, ¶11.

        20.     Based upon public information, Defendant provides training and educational

information for its products. See Exhibit M and Exhibit N.

                COUNT I: INFRINGEMENT OF U.S. PATENT NO. 6,560,613

        21.     Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

        22.     U.S. Patent No. 6,560,613 (hereinafter, the “’613 Patent”), was issued on May 6,

2003 after full and fair examination by the USPTO of Application No. 09/500,212 which was filed



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on February 8, 2000. See Ex. A. A Certificate of Correction was issued on August 26, 2003. See

id.

        23.      Based upon public information, Plaintiff is informed and believes that Defendant

has infringed one or more claims of the ’613 Patent, either literally or under the doctrine of

equivalents, because it ships distributes, makes, uses, imports, offers for sale, sells, and/or

advertises its “VMware Cloud Services” product.

        24.      Upon information and belief, Charter’s VMware Cloud Services meets each and

every element of at least Claim 8 of the ‘613 Patent, either literally or equivalently.

        25.      Based upon public information, Charter’s VMware Cloud Services has infringed

one or more claims of the ’613 Patent, including Claim 8, because it provides a method for

disambiguating file descriptors in a computer system through a process which intercepts the system

calls that store files on media, stores one or more file type indicators for each file descriptor in a

table, and determines what file type is associated with the file descriptor based on a review of the

stored file type indicators.      Charter’s VMware Cloud Services, which uses VMware and

virtualizaton, including through at least VMware NSX Network/vSphere/vCloud Availability for

vCloudDirector, employs disambiguation of file descriptors (files/sockets/pipes) that are used in

shadowed I/O system call routines by intercepting them, storing related indicators (e.g., reference

to images), and examining those stored indicators to determine the associated file type.

        26.      Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        27.      Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35




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U.S.C. § 284.

                COUNT II: INFRINGEMENT OF U.S. PATENT NO. 6,651,063

        28.     Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

        29.     U.S. Patent No. 6,651,063 (hereinafter, the “’063 Patent”), was issued on

November 18, 2003 after full and fair examination by the USPTO of Application No. 09/493,911

which was filed on January 28, 2000. See Ex. B. A Certificate of Correction was issued on

February 3, 2004. See id.

        30.     Based upon public information, Plaintiff is informed and believes that Defendant

has infringed one or more claims of the ’063 Patent, either literally or under the doctrine of

equivalents, because it ships distributes, makes, uses, imports, offers for sale, sells, and/or

advertises its “My Spectrum” smartphone application (the “Spectrum Android App”) product.

        31.     Upon information and belief, the Spectrum Android App meets each and every

element of at least Claim 4 of the ’063 Patent, either literally or equivalently.

        32.     Based upon public information, the Spectrum Android App has infringed one or

more claims of the ’063 Patent, including Claim 4 because it provides a method for providing

information to one or more user by storing information in an “information pack” (uploading to

servers/saving APK/image files, e.g., My Spectrum_v8.17.0_apkpure.com.apk) associated with a

user destination address (e.g., “2607:f8b0:4009:805::200e”) associated with a plurality of data

repositories (e.g., “SM-J337A\Phone\Android\data . . . “) associated with at least one of those users

(e.g., “SM-J337A”) and associating that information pack with a “provider identifier” (e.g. “Bright

House Networks”). The information pack is sent to the specified data repository (e.g., via TCP)

associated the user (e.g., “com.brighthouse.mybhn”) and located in a location in the repository

associated with the user destination address reserved for information (e.g., data directory)



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corresponding to a category to which said category identifier corresponds (e.g., category identifier

of the “data” directory under “Android”); and associating a custom category identifier (e.g., a

“Modulus” for Spectrum Android App as indicated after analysis at https://www.sisik.eu/cert)

with said information pack sending a custom category signal (e.g., indication of last “Updated”)

to a processing station uniquely associated with the user data repository including a data storage

means and a data processing means (e.g., requested permissions for Spectrum Android App as

indicated after analysis at https://www.sisik.eu/apk-tool), the data storage means storing together

the custom category identifier and provider identifier (e.g., also as indicated for Spectrum Android

App after analysis at https://www.sisik.eu/apk-tool), and analyzing the provider identifier (e.g.,

Android APK files contain a signature which allows to identify the author of the APK file) of

subsequent information packs (e.g., updates), comparing the provider identifier of subsequent

information packs with the provider identifier stored in the storage means (e.g., verify that the

updated version comes from the same author). If it matches, the subsequent information packs are

placed in the custom location (e.g., the update is completed).

        33.      Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        34.      Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                COUNT III: INFRINGEMENT OF U.S. PATENT NO. 6,824,064

        35.      Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

        36.      U.S. Patent No. 6,824,064 (hereinafter, the “’064 Patent”), was issued on



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November 30, 2004 after full and fair examination by the USPTO of Application No. 09/730,670

which was filed on December 6, 2000. See Ex. C.

        37.      Based upon public information, Plaintiff is informed and believes that Defendant

has infringed one or more claims of the ’064 Patent, either literally or under the doctrine of

equivalents, because it ships distributes, makes, uses, imports, offers for sale, sells, and/or

advertises its “Spectrum Mobile SIM Card.”

        38.      Upon information and belief, the Spectrum Mobile SIM Card meets each and every

element of at least Claim 5 of the ’064 Patent, either literally or equivalently.

        39.      Based upon public information, the Spectrum Mobile SIM Card has infringed one

or more claims of the ’064 Patent, including Claim 5, because it schedules multiple applications

(Java applications on application provider security domains and issuer security domains) on a

“smart card” (the Spectrum Mobile SIM Card) by logically partitioning memory on the card into

a plurality of memory blocks (e.g., memory is in the ST33GIM2 integrated circuit and there are

multiple blocks, including at least one memory block for runtime areas of the Java Card VM);

allocates at least one memory block (e.g., memory management) for the application in response to

a declaration for the application of its memory needs (e.g., allocating memory for the applet inside

the constructor); schedules the application for execution (e.g., CardServicesScheduler via a

scheduler) in response to that allocation only if the its declared memory needs have been satisfied

(e.g., a “CardServiceException is thrown if not satisfied); and executes the application in a virtual

machine (e.g., JKernel) and communicates with the virtual machine to control scheduling (e.g.,

initializes it) to a predetermined granularity (e.g., take exclusive access to the card).

        40.      Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.




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        41.     Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 7,209,959

        42.     Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

        43.     U.S. Patent No. 7,209,959 (hereinafter, the “’959 Patent”), was issued on April 24,

2007 after full and fair examination by the USPTO of Application No. 09/542,858 which was filed

on April 4, 2000. See Ex. D.

        44.     Based upon public information, Plaintiff is informed and believes that Defendant

has infringed one or more claims of the ’959 Patent, either literally or under the doctrine of

equivalents, because it ships distributes, makes, uses, imports, offers for sale, sells, and/or

advertises its Spectrum Business Sitebuilder and Business Web Hosting (the “Spectrum Business

Web Hosting” product).

        45.     Upon information and belief, Spectrum Business Web Hosting meets each and

every element of at least Claim 1 of the ’959 Patent, either literally or equivalently.

        46.     Based upon public information, Spectrum Business Web Hosting has infringed one

or more claims of the ’959 Patent, including Claim 1, because it provides a method of, in response

to a request (e.g., “”Client Hello”) by a client (e.g., 10.0.0.3) to initiate communication with a

destination website (e.g., spectrum.net); setting up a forwarding session (e.g., from the internet to

a WWW server) between the client (e.g., internet device) and a destination server corresponding

to the destination website (e.g., WWW server), the forwarding session employing a forwarder

disposed between (e.g., a front-end server switch) the client and the destination server to forward



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packets sent from the client to the destination server and to forward packets sent from the

destination server to the client (e.g., bilateral communications); employing the forwarder (e.g.

front-end server switch), to transfer packets (e.g., ethernet or others) between the client (e.g.,

internet device) and the destination server (e.g., WWW server) during the forwarding session,

wherein the forwarding session is set up and implemented such that neither the client or the

destination server is aware of the employment of the forwarder (e.g., the WWW server has a direct

TCP connection between a local address of, say, 172.31.15.21:22 and a client address of, say,

96.72.88.222:64947; thus, neither the client or the destination server is aware of the employment

of the forwarder); employing a controller configured to communicate (e.g., firewall) with the

forwarder (e.g., front-end server switch) and a domain name server (e.g., a DNS), wherein the

controller queries the domain name server to resolve the name of the destination website (e.g.,

spectrum.net) associated with the destination server (e.g., WWW server) and initiates

communication (e.g., between the firewall and front-end server switch) with the forwarder in

response to an answer from the domain name server to resolve the name of the destination website

associated with the destination server; employing a deceiver (e.g., router) configured to

communicate with the controller (e.g., firewall) and the client (e.g., internet device), wherein the

deceiver receives the request by the client to initiate communication (e.g., from the internet to the

router) with the destination website (e.g., spectrum.net on a WWW server) and initiates the

controller to query the domain name server to resolve the name of the destination website

associated with the destination server (e.g., the router both (i) receives the request and (ii) sends

the data from the WWW server in a manner that makes the router appear to be the source of the

data, when the source of the data is actually the WWW server); and in response to the controller

(e.g., router) receiving the answer from the domain name server and initiating communication with




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the forwarder initiating the forwarding session.

          47.    Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

          48.    Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                 COUNT V: INFRINGEMENT OF U.S. PATENT NO. 8,370,457

          49.    Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

          50.    U.S. Patent No. 8,370,457 (hereinafter, the “’457 Patent”), was issued on February

5, 2013 after full and fair examination by the USPTO of Application No. 11/717,911 which was

filed on March 13, 2007. See Ex. E. A Certificate of Correction was issued on March 18, 2004.

See id.

          51.    Based upon public information, Plaintiff is informed and believes that Defendant

has infringed one or more claims of the ’457 Patent, either literally or under the doctrine of

equivalents, because it ships distributes, makes, uses, imports, offers for sale, sells, and/or

advertises its Wave 2 Routers, including model numbers RAC2V1S, RAC2V1K, and RAC2V1A

(the “Spectrum Wave 2 Routers”).

          52.    Upon information and belief, the Spectrum Wave 2 Routers meet each and every

element of at least Claim 9 of the ’457 Patent, either literally or equivalently.

          53.    Based upon public information, the Spectrum Wave 2 Routers have infringed one

or more claims of the ’457 Patent, including Claim 9, because it provides a method that establishes

a forwarding internet protocol (IP) address (e.g., the WAN interface will be the forwarding IP



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address based on either (i) DHCP or (ii) statically configured) for a pre-defined combination of a

client IP address and a destination IP address (e.g., in the “Net Service Filter” settings both “Source

IP” and “Destination IP,” respectively, can be set), identifies, in a data request received from the

client IP address (e.g., “[w]hen running in White List mode, it only lets certain packets get through

the WiFI Router”), the pre-defined combination (e.g., via the “Network Services Filter”), and in

response forwards (e.g., data requests identified as matching the “Net Service Filter” in “White

List mode” will be forwarded from the forwarding IP address (WAN IP) to the destination IP

address).the data request via the forwarding IP address to the destination IP address.

        54.      Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        55.      Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                COUNT VI: INFRINGEMENT OF U.S. PATENT NO. 8,607,139

        56.      Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

        57.      U.S. Patent No. 8,607,139 (hereinafter, the “’139 Patent”), was issued on December

10, 2013 after full and fair examination by the USPTO of Application No. 10/834,595 which was

filed on April 29, 2004. See Ex. F. A Certificate of Correction was issued on June 24, 2014. See

id.

        58.      Based upon public information, Plaintiff is informed and believes that Defendant

has infringed, and continues to infringe, one or more claims of the ’139 Patent, either literally or

under the doctrine of equivalents, because it ships distributes, makes, uses, imports, offers for sale,



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sells, and/or advertises its “Spectrum Business Sitebuilder” product (“Spectrum Business

Sitebuilder”).

        59.      Upon information and belief, Spectrum Business Sitebuilder meets each and every

element of at least Claim 1 of the ’139 Patent, either literally or equivalently.

        60.      Based upon public information, Spectrum Business Sitebuilder has infringed and

continues to infringe one or more claims of the ’139 Patent, including Claim 1 because it provides

a processor (e.g., CPU), coupled to a memory (e.g., RAM), configured to execute or facilitate

execution of computer-executable components that has a content management component (e.g.,

the “Spectrum Business Sitebuilder” hosting application uses “Plesk Sitebuilder Wizard”) that

displays a graphical interface based on a metadata template (e.g., a “design template”), that has an

object that represents a structure and an appearance of a web page (e.g., adding a “Feedback

Form”), wherein the object is based on a class (e.g., a “Feedback” template where you can add/edit

“Feedback Form Fields”) stored in a base template (e.g., including a “Last name,” “First name,”

E-mail,” “Contact,” “Comments,” and “CAPTCHA”), and wherein the graphical interface (e.g., a

“Take Action” page) comprises an input field (e.g., an “Email” field) corresponding to the object

and defining a property of a data entry field (e.g., a “Type” of “E-mail”), and generate a data entry

form (e.g., “Feedback”) comprising the data entry field (e.g., “Your email address”), wherein the

data entry field is configured to accept input corresponding to content of the object (e.g., a user

may input an email address); and a web page generator configured to generate the web page based

on the metadata template (e.g., the Spectrum Business Sitebuilder allows a “Preview”), wherein

the web page comprises the content represented by the input (e.g., the working Feedback form is

displayed).

        61.      Based upon public information, Defendant’s customers use its products and




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services in such a way that infringes one or more claims of the ’139 Patent.

        62.     Based upon public information, Defendant has intentionally induced and continues

to induce infringement of one or more claims of the ’139 Patent in this District and elsewhere in

the United States, by its intentional acts which have successfully, among other things, encouraged,

instructed, enabled, and otherwise caused Defendant’s customers to use Spectrum Business

Sitebuilder in an infringing manner.

        63.     To the extent that Defendant is not the only direct infringer of one or more claims

of the ’139 Patent, it instructs its customers on how to use its Spectrum Business Sitebuilder in

ways that infringe one or more claims of the ’139 Patent through its support and sales activities.

See Ex. M, Ex. N.

        64.     Despite knowledge of the ’139 Patent as of its receipt of the Licensing Letter (Ex.

H) or the Notice Letter (Ex. I), Defendant, based upon public information, continues to encourage,

instruct, enable, and otherwise cause its customers to use its products and services, in a manner

which infringes one or more claims of the ’139 Patent. Based upon public information, the

provision of and sale of Spectrum Business Sitebuilder is a source of revenue and a business focus

for Defendant by virtue of information available on Defendant’s websites including information

brochures, promotional material, and contact information. See Ex. K, Ex. L.

        65.     Based upon public information, Defendant specifically intends its customers to use

its products and services in such a way that infringes one or more claims of the ’139 Patent by, at

a minimum, providing and supporting its Spectrum Business Sitebuilder and instructing its

customers on how to use it in an infringing manner, at least through information available on

Defendant’s websites including information brochures, promotional material, and contact

information. See Ex. K, Ex. L, Ex. M, and Ex. N.




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        66.      Based upon public information, Defendant knew that its actions, including, but not

limited to any of the aforementioned products and services, would induce, have induced, and will

continue to induce infringement by its customers by continuing to sell, support, and instruct its

customers on using Spectrum Business Sitebuilder.

        67.      Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        68.      Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                COUNT VII: INFRINGEMENT OF U.S. PATENT NO. 8,762,498

        69.      Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

        70.      U.S. Patent No. 8,762,498 (hereinafter, the “’498 Patent”), was issued on June 24,

2014 after full and fair examination by the USPTO of Application No. 13/731,731 which was filed

on December 31, 2012. See Ex. G.

        71.      Based upon public information, Plaintiff is informed and believes that Defendant

has infringed one or more claims of the ’498 Patent, either literally or under the doctrine of

equivalents, because it ships distributes, makes, uses, imports, offers for sale, sells, and/or

advertises its Spectrum Business Sitebuilder/Web Hosting (“Spectrum Web Servers”).

        72.      Upon information and belief, the Spectrum Web Servers meet each and every

element of at least Claim 1 of the ’498 Patent, either literally or equivalently.

        73.      Based upon public information, Spectrum Web Servers have infringed one or more

claims of the ’498 Patent, including Claim 1, because it provides a method for determining, by a



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controller device comprising a processor (e.g., a router), a destination internet protocol (IP) address

(e.g., www.spectrum.net has an IP address of 52.71.37.188) from a plurality of categories for

virtual names (e.g., spectrum.net, sum5m.tk, and myspectrumloyalty.com) based on a virtual

namespace destination address (e.g., www.spectrum.net) specified by request data received from

a device (request data in the form of “Client Hello” from, say 10.0.0.3), wherein a category (e.g.,

spectrum.net) of the plurality of categories is related to the virtual namespace destination address

(e.g., www.spectrum.net), establishing a correlation between the destination IP address (e.g.,

52.71.37.188) and a forwarder IP address (IP address of the router) of a forwarder device (e.g., the

router); and instructing the forwarder device to send the request data to the destination IP address

(e.g., via SNI Routing)

        74.        Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        75.        Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                                            JURY DEMAND

        76.        Plaintiff demands a trial by jury on all issues.

                                        PRAYER FOR RELIEF

        77.        Plaintiff respectfully requests the following relief:

              A.      An adjudication that one or more claims of the Patents-in-Suit has been

                      infringed, either literally and/or under the doctrine of equivalents, by Charter;

              B.      An adjudication that Charter has induced infringement of one or more claims



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                    of the U.S. Patent No. 8,607,139 based upon pre-suit knowledge of those

                    Patents;

            C.      An award of damages to be paid by Charter adequate to compensate Plaintiff

                    for Charter’s past infringement, including interest, costs, and disbursements as

                    justified under 35 U.S.C. § 284 and, if necessary to adequately compensate

                    Plaintiff for Charter’s infringement, an accounting of all infringing sales

                    including, but not limited to, those sales not presented at trial;

            D.      That this Court find that Charter willfully infringed U.S. Patent No. 8,607,139;

            E.      That this Court declare this to be an exceptional case and award Plaintiff its

                    reasonable attorneys’ fees and costs in accordance with 35 U.S.C. § 285; and,

            F.      Any further relief that this Court deems just and proper.




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Dated: June 24, 2021                         Respectfully submitted,


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LIST OF EXHIBITS
   A. U.S. Patent No. 6,560,613
    B. U.S. Patent No. 6,651,063
    C. U.S. Patent No. 6,824,064
    D. U.S. Patent No. 7,209,959
    E. U.S. Patent No. 8,370,457
    F. U.S. Patent No. 8,607,139
    G. U.S. Patent No. 8,762,498
    H. Letter dated November 4, 2020 from DataCloud’s Licensing Agent (“Licensing Letter”)
    I. Letter dated February 5, 2021 from DataCloud’s Counsel (“Notice Letter”)
    J. Letter dated April 23, 2021 from Charter’s Associate General Counsel (“Response
       Letter”)
    K. Webpage: About Charter Communications
    L. Webpage: Spectrum
    M. Webpage: FAQs
    N. Webpage: User Manuals




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